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Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                   )          Chapter 11
                                                         )
REPUBLIC METALS REFINING                                 )          Case No. 18-13359 (shl)
CORPORATION, et al.,1                                    )
                                                         )          (Jointly Administered)
                              Debtors.                   )
                                                        )          RELATED DOC. NO. 658

                                      NOTICE OF SALE CLOSING

         PLEASE TAKE NOTICE that on February 21, 2019, this Court entered an Order (A)

Approving Sale of Substantially All of Debtors' Assets “Free and Clear” of All Liens, Claims,

Encumbrances and Other Interests, (B) Approving Assumption and Assignment of Executory

Contracts and Unexpired Leases, and (C) Granting Related Relief [ECF No. 658] (the "Sale

Order").

         PLEASE TAKE FURTHER NOTICE that pursuant to the Sale Order and the Asset

Purchase Agreement dated as of February 13, 2019, the sale transaction to Asahi Holdings, Inc.

closed on March 7, 2019.

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38th Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL
33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW
38th Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848),
Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China
(1639), and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero
Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).




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Dated: March 7, 2019
                                          AKERMAN LLP


                                          By:    /s/ Katherine C. Fackler
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                                                        -and-

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